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                                              #1057



                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,                      )
                                               )
                       Plaintiff,              )
                                               )
                       vs.                     )       Case No. 04-CR-30010-07-MJR
                                               )
MICHAEL PEYLA,                                 )
                                               )
                       Defendant.              )

                                              ORDER

REAGAN, District Judge:

               On September 8, 2005, Defendant changed his plea from not guilty to guilty (Doc.

352). On February 24, 2006, the undersigned District Judge sentenced him to be imprisoned for a

term of 150 months with 5 years of supervised release thereafter, a $6,000 fine, and a $200 special

assessment (Doc. 388). On March 1, 2006, Defendant filed a notice of appeal (Doc. 393).

               Now, Defendant wishes to withdraw his guilty plea (Doc. 404) and to proceed in

forma pauperis (Doc. 405). District Courts routinely certify motions to proceed in forma pauperis

for Defendants whose cases are on appeal. After reviewing Defendant’s representations of his

financial situation, the Court is convinced that he cannot afford to pay the full costs of his appeal.

The motion will be granted.

               Defendant’s motion to withdraw his plea (Doc. 404) is different. “The filing of a

notice of appeal is an event of jurisdictional significance–it confers jurisdiction on the court of

appeals and divests the district court of its control over those aspects of the case involved in the

appeal.” Griggs v. Provident Consumer Discount Co., 459 U.S. 56, 58 (1982); May v. Sheahan,

226 F.3d 876, 879 (7th Cir. 2000). Defendant appeals the judgment as entered on March 1, 2006

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(Doc. 391). If he were to change his plea, his appeal, already undertaken, would be obviated. Thus

this Court no longer retains subject matter jurisdiction over Defendant’s motion to change his plea.

It will have to be taken up with the Court of Appeals.

               Accordingly, Defendant’s motion to withdraw guilty plea (Doc. 404) is DENIED

and his motion to proceed in forma pauperis (Doc. 405) is GRANTED.

               IT IS SO ORDERED.

               DATED this 6th day of April, 2006.



                                                             s/Michael J. Reagan
                                                             MICHAEL J. REAGAN
                                                             United States District Judge




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